Case 22-10014-ELG              Doc 79    Filed 12/10/24 Entered 12/10/24 19:12:41        Desc Main
                                        Document      Page 1 of 3



Maurice B. VerStandig, Esq.
Bar No. MD18071
The Belmont Firm
1050 Connecticut Avenue, NW, Suite 500
Washington, DC 20036
Phone: (202) 991-1101
mac@dcbankruptcy.com
Counsel for Enovational Corp.



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLUMBIA

 In re:                                                Case No. 22-55-ELG

 ENOVATIONAL CORP.                                     (Chapter 11)

             Debtor.
 _________________________________/
                                                       Adversary Proceeding No. 22-10014-ELG
 ENOVATIONAL CORP.

                  Plaintiff,

 v.

 THE STATE OF MARYLAND

                  Defendant.

                          NOTICE OF INTENT TO SEEK SANCTIONS

          Comes now Enovational Corp. (“Enovational” or the “Reorganized Debtor”), by and

through undersigned counsel, pursuant to Section 105 of Title 11 of the United States Code and

Section 1927 of Title 28 of the United States Code, and gives notice as follows:

          As reflected in the Mediator’s Certificate of Completion filed herein, DE #78, Enovational

and the State of Maryland (“Maryland”) proceeded to mediate this matter pursuant to this

Honorable Court’s order of May 1, 2024, DE #75. In an effort to abide by its fiduciary obligations

to creditors and the estate, Enovational partook in the process in good faith and was, at all times,

                                                   1
Case 22-10014-ELG         Doc 79     Filed 12/10/24 Entered 12/10/24 19:12:41           Desc Main
                                    Document      Page 2 of 3



prepared to continue with the process, expending significant legal resources (subject to judicial

approval) not merely drafting memoranda for the mediator but, too, participating in internal

strategy sessions, analyzing potential settlement ranges, and working to afford the best possible

opportunity for the subject litigation to be resolved.

       It is reasonably believed that the mediator, the Honorable Michelle Harner (“Judge

Harner”), did, too, expend myriad resources preparing for the mediation sessions. While not

compensable in nature, her efforts—and those of her chambers staff—cannot be understated. By

all appearances, Judge Harner did not merely expend palpable time preparing for the mediation

but did, too, make herself available outside of mediation, to the lawyers in this case, on multiple

occasions.

       Unfortunately, mediation concluded when Maryland unilaterally withdrew from the

process after previously seeking a 30 day extension of time, between mediation sessions.

       While Enovational is careful herein to not share anything that was said in mediation or any

of the mediation briefs, Enovational can share what did not happen in mediation: Maryland never

once made a settlement offer.

       While Enovational will not endeavor to compel an unwilling party to participate in

mediation for self-evident reasons, Enovational does hereby give notice of its reservation of rights

to seek sanctions against Maryland. Significant attorneys’ fees were incurred, and more than half

a year was wasted, in furtherance of a process that was clearly not the byproduct of bilateral good

faith. The fees and delays occasioned thereby have had—and will continue to have—a deleterious

impact upon creditors and the estate. And, at an appropriate temporal juncture, recourse for such

will be sought.

                    [Signature and Certificate of Service on Following Page]



                                                  2
Case 22-10014-ELG       Doc 79     Filed 12/10/24 Entered 12/10/24 19:12:41      Desc Main
                                  Document      Page 3 of 3



                                            Respectfully submitted,

Dated: December 10, 2024             By:    /s/ Maurice B. VerStandig
                                            Maurice B. VerStandig, Esq.
                                            Bar No. MD18071
                                            The Belmont Firm
                                            1050 Connecticut Avenue, NW, Suite 500
                                            Washington, DC 20036
                                            Phone: (202) 991-1101
                                            mac@dcbankruptcy.com
                                            Counsel for the Debtor



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of December, 2024, a copy of the foregoing

was served electronically upon filing via the ECF system.

       .

                                            /s/ Maurice B. VerStandig
                                            Maurice B. VerStandig




                                               3
